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                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                              Chris Wolpert
  Clerk of Court                        March 13, 2018                          Chief Deputy Clerk




  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589

  RE:       17-1125, Menocal, et al v. The GEO Group
            Dist/Ag docket: 1:14-CV-02887-JLK

  Dear Clerk:

  Please be advised that the mandate for this case has issued today. Please file accordingly
  in the records of your court or agency.

  Please contact this office if you have questions.

                                                Sincerely,



                                                Elisabeth A. Shumaker
                                                Clerk of the Court
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  cc:      Shalini Agarwal
           Alia Al-Khatib
           Dana L. Eismeier
           Mark Emery
           Mark Fleming
           Katherine E.M. Goettel
           Lisa Graybill
           Alexander Hood
           Andrew Christopher Lillie
           David Lopez
           Scott Daniel McCoy
           Hans Meyer
           Brandt Milstein
           Scott Lawrence Nelson
           Nathaniel H Nesbitt
           Adina Hyman Rosenbaum
           Ann Stanton
           Elizabeth Stork
           Andrew Hess Turner
           Juno Turner
           Claudia Valenzuela
           Keren Zwick



  EAS/na




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